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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


 In re:                                                                    Chapter 11

 AMYRIS, INC., et al.,                                                     Case No. 23-11131 (TMH)

                                       Debtors. 1                          (Jointly Administered)


                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                HEARING ON OCTOBER 4, 2023 AT 10:00 A.M. (EASTERN TIME2)


      This hearing will be conducted in-person before the Honorable Thomas M. Horan, in the
     United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor,
        Courtroom #4. All parties, including witnesses, are expected to attend in person unless
     permitted to appear via Zoom. Participation at the in-person court proceeding using Zoom
     is allowed only in the following circumstances: (i) a party whOo files a responsive pleading
     intends to make only a limited argument; (ii) a party who has not submitted a pleading but
           is interested in observing the hearing; or (iii) other extenuating circumstances as
                                      determined by Judge Horan.
     All participants over Zoom must register in advance. Please register by October 3, 2023, at
                                   4:00 p.m. (EST). at the link below.
      https://debuscourts.zoomgov.com/meeting/register/vJIsduqtrzksG21wmcSoprQgg7rQJxNRYn0


I.      CONTESTED MATTERS GOING FORWARD

        1. Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain
           Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
           Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed 08/09/2023, Docket
           No. 19].

            Response Deadline: August 31, 2023. The deadline to respond was extended for the
            Committee to September 7, 2023.




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        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
        Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
        principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
        Suite 100, Emeryville, CA 94608.
 2      All motions and other pleadings referenced herein are available online at the following web address:
        https://cases.stretto.com/Amyris.
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        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        b.         [REDACTED] Limited Objection of Lavvan, Inc. to Motion of the Debtors for
                   Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                   Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                   a Final Hearing, and (V) Granting Related Relief [Filed August 31, 2023, Docket
                   No. 172].

        c.         Supplemental Objection of Lavvan, Inc. to Motion of the Debtors for Interim and
                   Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B)
                   to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                   Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
                   Hearing, and (V) Granting Related Relief [Filed September 8, 2023, Docket No.
                   211].

        d.         Statement of the Official Committee of Unsecured Creditors Regarding the
                   Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
                   Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
                   Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic
                   Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed
                   September 13, 2023, Docket No. 267].

        e.         Preliminary Statement of Ad Hoc Cross-Holder Group to Debtors' Motion for
                   Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                   Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                   a Final Hearing, and (V) Granting Related Relief [Filed September 13, 2023,
                   Docket No. 269]

        Related Documents:

        A.      Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
                Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
                Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
                Related Relief [Filed August 10, 2023, Docket No. 40].

        B.      Interim Order (I) Authorizing the Debtors (A) to Obtain Postpetition Financing and
                (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
                Hearing, and (V) Granting Related Relief [Filed August 11, 2023, Docket No. 54].

             C. Debtors' Motion for Entry of an Order Authorizing Debtors to File Under Seal
                Certain Information Related to Reply of the Debtors in Support of Final Order (I)

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              Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
              Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
              Modifying the Automatic Stay, and (IV) Granting Related Relief [Filed September
              11, 2023, Docket No. 237].

          D. Amended Declaration of Steven Fleming in Support of Reply of the Debtors in
             Support of Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
             Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
             Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a
             Final Hearing, and (V) Granting Related Relief [Filed September 14, 2023, Docket
             No. 273].

          E. Second Interim Order (I) Authorizing the Debtors (A) to Obtain Postpetition
             Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to
             Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a
             Final Hearing, and (V) Granting Related Relief Filed September 19, 2023, Docket
             No. 322].

          F. Notice of Amendment No. 2 to the Senior Secured Super Priority Debtor in
             Possession Loan Agreement [Filed September 28, 2023, Docket No. 398].

          G. Brief (Opening Brief of Lavvan, Inc. in Opposition to Motion of the Debtors for
             Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
             Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
             Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a
             Final Hearing, and (V) Granting Related Relief Relief [Filed September 29, 2023,
             Docket No. 402].

          H. Supplemental Brief of Euagore, LLC and the Foris Prepetition Secured Lenders
             with respect to Continued Hearing on the Motion of the Debtors for Interim and
             Final Orders (I) Authorizing Debtors to (A) Obtain Postpetition Financing and (B)
             to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured
             Parties, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Filed
             September 29, 2023, Docket No. 403].

          I. Supplemental Brief of the Debtors in Support of Entry of Final Order (I)
             Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
             Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
             Modifying the Automatic Stay and (IV) Granting Related Relief [Filed September
             29, 2023, Docket No. 404].

        Replies:

        A.    Reply Of Euagore, LLC And The Foris Prepetition Secured Lenders To Objection
              Of Lavvan, Inc., And Joinder To Reply Of The Debtors In Support Of Final Order
              (I) Authorizing Debtors To (A) Obtain Postpetition Financing And (B) To Utilize
              Cash Collateral, (II) Granting Adequate Protection To Prepetition Secured Parties,


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              (III) Modifying The Automatic Stay, And (IV) Granting Related Relief [Filed
              September 11, 2023, Docket No. 235].

          B. [SEALED] Reply of the Debtors in Support of Final Order (I) Authorizing Debtors
             (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
             Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the
             Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief
             [Filed September 11, 2023, Docket No. 236].

          C. [REDACTED] Reply of the Debtors in Support of Final Order (I) Authorizing
             Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
             Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the
             Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief
             [Filed September 11, 2023, Docket No. 238].

        Witness and Exhibit List:

        A.    Debtors’ Witness and Exhibit List for hearing on September 14, 2023 at 2:00 p.m.
              (ET) [Filed September 12, 2023, Docket No. 245].

        B.    The Foris Lenders' Witness and Exhibit List for Hearing Scheduled for September
              14, 2023 at 2:00 p.m. (ET) [Filed September 12, 2023, Docket No. 248].

        C.    Lavvan, Inc.'s Witness and Exhibit List for Hearing Scheduled for September 14,
              2023 at 2:00 p.m. (ET) [Filed September 14, 2023, Docket No. 272].

        D.    Debtors’ Witness and Exhibit List for hearing on October 14, 2023 at 10:00 a.m.
              (ET) [Filed October 2, 2023, Docket No. 408].

        E.    The Foris Lenders' Witness and Exhibit List for Hearing Scheduled for hearing on
              October 14, 2023 at 10:00 a.m. (ET) [Filed October 2, 2023, Docket No. 407].

        Status: The matter is going forward.




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Dated: October 2, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

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